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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,              )
                                       )
                  Plaintiff,           )
                                       )
v.                                     )                         Case No. 09-20046-009
                                       )
TYRONE RAMSEY,                         )
                                       )
                  Defendant.           )
_______________________________________)

                                  MEMORANDUM AND ORDER

       This matter is before the court on defendant Tyrone Ramsey’s pro se motion for reduction of

sentence (Doc. #782) pursuant to 18 U.S.C. § 3582(c)(2) in which Mr. Ramsey asks the court to reduce

his sentence based on Amendment 782 to the United States Sentencing Guidelines which took effect

on November 1, 2014 and lowers the base offense levels in the Drug Quantity Table. On July 18,

2014, the United States Sentencing Commission voted to apply the amendment retroactively to those

offenders currently in prison, but with a requirement that the reduced sentences cannot take effect until

November 1, 2015.

       The Honorable J. Thomas Marten of the District of Kansas recently appointed the Office of the

Federal Public Defender to represent any defendant previously determined to have been entitled to

appointment of counsel, or who is now indigent, to determine whether that defendant may qualify for

relief under Amendment 782. The record reflects that Mr. Ramsey may be entitled to have the Federal

Public Defender represent him to determine in the first instance whether Mr. Ramsey qualifies for

relief under the amendment. In light of these circumstances, the court believes that the most efficient

way to resolve the issue raised by Mr. Ramsey is to forward Mr. Ramsey’s motion (along with a copy

of this order) to the Office of the Federal Public Defender for an initial determination of whether Mr.




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Ramsey qualifies for representation and is entitled to a reduction in his sentence in light of the

amendment. In the meantime, the court will deny Mr. Ramsey’s motion without prejudice to refiling

the motion on or after February 2, 2015 if the Office of the Public Defender declines to seek relief for

Mr. Ramsey under Amendment 782.

        IT IS THEREFORE ORDERED that Mr. Ramsey’s motion for reduction of sentence (Doc.

#782) pursuant to 18 U.S.C. § 3582(c)(2) is denied without prejudice to refiling on or after February 2,

2015.

        IT IS FURTHER ORDERED that the Clerk of the Court shall forward to the Office of the

Federal Public Defender a copy of this order along with a copy of Mr. Ramsey’s pro se motion for

reduction of sentence.

        IT IS SO ORDERED.

               Dated this 19th day of December, 2014, at Kansas City, Kansas.


                                                      s/ Carlos Murguia
                                                      CARLOS MURGUIA
                                                      United States District Judge




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